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                           UNITED STATES DISTRICT COURT

                           MIDDLE DISTRICT OF LOUISIANA


GOINS, ET AL.                                                      CIVIL ACTION


VERSUS                                                             18-302-SDD-RLB


ILLINOIS NATIONAL
INSURANCE CO., ET AL.


                                         ORDER

          CONSIDERING the Notice of Settlement1 filed in the above captioned matter on

October 30, 2018;

          IT IS HEREBY ORDERED that Plaintiff Michael Goins’ claims against Defendants

are hereby DISMISSED.

          Signed in Baton Rouge, Louisiana on October 17, 2019.




                                        S
                                      CHIEF JUDGE SHELLY D. DICK
                                      UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF LOUISIANA




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    Rec. Doc. 19.
